Case 11-33448               Doc 39-1           Filed 05/31/19 Entered 05/31/19 16:41:32                                   Desc Proposed
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